                                                                                 Case 5:04-cv-03946-EJD Document 306 Filed 03/16/07 Page 1 of 3



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                                                                          9                              IN THE UNITED STATES DISTRICT COURT
                                                                         10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
United States District Court




                                                                         11                                          SAN JOSE DIVISION
                               For the Northern District of California




                                                                         12     Darla Padgett, et al.,                              NO. C 04-03946 JW
                                                                         13                     Plaintiffs,                         ORDER APPOINTING TOM DENVER
                                                                                                                                    AS SPECIAL MASTER
                                                                         14         v.
                                                                         15     City of Monte Sereno, et al.,
                                                                         16                     Defendants.
                                                                                                                           /
                                                                         17
                                                                         18          On March 12, 2007, the Court conducted a hearing on Plaintiff’s motion for terminating
                                                                         19   sanctions. As the result of the hearing, the Court ORDERS the appointment of Mr. Tom Denver as
                                                                         20   the Special Master with the following powers:
                                                                         21          1.      Monitor discovery with respect to the inspection of the City of Monte Sereno’s
                                                                         22                  computers and servers; including but not limited to, physical presence during the
                                                                         23                  examination.
                                                                         24          2.      Allow such additional discovery as deemed necessary in order to prepare for trial.
                                                                         25          3.      Resolve all discovery disputes, including but not limited to, disputes regarding the
                                                                         26                  scope of the Court’s previous discovery Order.
                                                                         27          4.      Establish a procedure for identification and disclosure of privileged documents for
                                                                         28                  the Court’s review.
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                                                                          1          5.     The City shall bear all the expenses of the Special Master, unless the Special Master
                                                                          2                 determines that Plaintiffs’ conduct is contributing to delay in proceedings from the
                                                                          3                 date of this Order until discovery is completed. In such event, the Special Master
                                                                          4                 shall make the appropriate recommendations with respect to division of costs.
                                                                          5          The parties shall contact Mr. Denver, at (408) 280-7883, no later than ten (10) days from the
                                                                          6   date of this Order to commence the computers’ examination process.
                                                                          7
                                                                          8   Dated: March 16, 2007
                                                                                                                                     JAMES WARE
                                                                          9                                                          United States District Judge
                                                                         10
United States District Court




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                               For the Northern District of California




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                                                                          1   THIS IS TO CERTIFY THAT COPIES OF THIS ORDER HAVE BEEN DELIVERED TO:
                                                                          2   Darla Kaye Padgett Actiontkr@aol.com
                                                                              Joseph C. Howard jhoward@hrmrlaw.com
                                                                          3   Todd H. Master tmaster@hrmrlaw.com
                                                                          4
                                                                              Dated: March 16, 2007                      Richard W. Wieking, Clerk
                                                                          5
                                                                                                                         By:       /s/ JW Chambers
                                                                          6                                                    Elizabeth Garcia
                                                                                                                               Courtroom Deputy
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United States District Court




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                               For the Northern District of California




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